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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                 Plaintiff,                             8:13-CR-43

vs.                                                       ORDER

KAILEE MARIE DAVIS,

                 Defendant.

     This matter is before the Court on the defendant's unopposed Motion to
Extend Self-Surrender Date (filing 433). The defendant's motion will be
granted.

      IT IS ORDERED:

      1.   The defendant's Motion to Extend Self-Surrender Date
           (filing 433) is granted.

      2.   The defendant shall surrender for service of sentence at the
           institution designated by the Bureau of Prisons before 1:00
           P.M. on November 21, 2014.

      3.   The Clerk of the Court is directed to provide a certified copy
           of this order to the United States Marshal.

      Dated this 11th day of August, 2014.

                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge
